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                             Exhibit 1
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                            CURRICULUM VITAE
                               Jeremy Scheetz

                  Intelligence Operations Specialist
     Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF)
             ATF Headquarters, 99 New York Ave, NE,
                       Washington, D.C. 20226
Law Enforcement Experience and Assignments

2003 – 2006
Critical Information Specialist, ATF Headquarters, Joint Support Operations Center
     Inserted, removed and managed ATF active and former warrants
     Assisted field operations with ongoing incidents
     Acted as a conduit between ATF headquarters and state and local law
        enforcement agencies from across the globe

2006 - 2014
Intelligence Research Specialist (IRS), ATF Headquarters, Office of Strategic
Intelligence and Information
     Debriefed active and potential Outlaw Motorcycle Gang/s (OMG) sources of
        information
     Primary and secondary intelligence asset during short and long-term OMG
        investigations
     Instructed on numerous OMG topics at a litany of venues, conferences, agencies -
        domestic and abroad
     Analyzed sensitive, secret and top secret law enforcement intelligence as it
        pertained to domestic and foreign OMG
     Constructed and disseminated OMG reports, tactical and strategic
     Constructed link charts for use in OMG investigations and court
     Monitored OMG events, domestic and abroad
     Briefed ATF command staff on OMG trends and patterns, as well as ongoing
        OMG investigations

2014 - Present
Intelligence Operations Specialist (IOS), ATF Headquarters, Office of Strategic
Intelligence and Information
     Debrief active and potential OMG sources of information
     Assist ATF Special Agents and Task Force Officers glean OMG intelligence from
        sources of information
     Serves as a primary and secondary intelligence asset during short and long-term
        OMG investigations
     Instruct on numerous OMG topics at a litany of venues, conferences, agencies,
        and enforcement agencies, both domestic and abroad
     Analyze sensitive, secret and top secret law enforcement intelligence as it pertains
        to domestic and foreign OMGs
     Construct and disseminate OMG reports, tactical and strategic

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                           CURRICULUM VITAE
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                    Intelligence Operations Specialist
       Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF)
               ATF Headquarters, 99 New York Ave, NE,
                         Washington, D.C. 20226
       Construct link charts for use in OMG investigations and court
       Monitor OMG events, domestic and abroad
       Assist multiple State and Federal law enforcement agencies with OMG
        investigations and intelligence assets across the globe

Education
1997 – B.A. in History from Marymount University, Arlington, VA, 22207

Military
1997 – 2001 – Operations Specialist, Second Class Petty Officer, USS George
Washington, CVN-73, Norfolk, VA

Specialized Law Enforcement Training
2006 –Graduated Drug Enforcement Agency (DEA) Basic Intelligence Research
Specialist Academy, Quantico, VA

Awards
   Received letters-of-appreciation from the South Dakota Division of Criminal
      Investigations, 2011, 2012, 2013, 2014, 2016, 2017 and 2019
   Received letter of appreciation from ASAC Charlotte Field Division, Hells
      Angels Motorcycle Club (HAMC) U.S.A. Run, Clemson, SC, 2019
   Received letter of appreciation from Sussex and Surrey Police Departments,
      HAMC London 50th Anniversary Party, 2019
   Received letter of appreciation from CBSA, Operation Path Finder, 2019
   Received letter of appreciation from RAC Kansas City Field Division, HAMC
      U.S.A. Run, 2017
   Received letter of appreciation from SAC Denver Field Division, HAMC U.S.A.
      Run. 2016
   Received letter of appreciation from ATF SAC New York Field Division,
      Operation on the Road Again, 2015
   Received letter of appreciation from Victoria Police, Task Force Echo, 2015
   Received letter of appreciation from New South Wales Police Service, Criminal
      Groups Squad, 2015
   Received letter of appreciation from Queensland Police Service, Taskforce
      Maxima, 2015
   Received letter of appreciation from ASAC San Francisco Field Division, 2014
   Received letter of appreciation from SAC Seattle, Operation Ghost Busters, 2014
   Received letter of appreciation from The United States Attorney’s Office, District
      of South Carolina, Columbia, South Carolina, Operation Angel Bane, 2013

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                            CURRICULUM VITAE
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               ATF Headquarters, 99 New York Ave, NE,
                         Washington, D.C. 20226
       Received letter of appreciation from Sheriff Las Vegas Metropolitan Police
        Department, Operation Pure Luck, 2013
       Received letter of appreciation from ATF Washington Field Division ASAC,
        Operation Black Diamonds, 2012
       Received letter of appreciation from ATF SAC Los Angeles Field Division,
        Operation Black Rain, 2009
       IOMGIA, Robert Faulkner Award for Operation on the Road Again, 2012
       IOMGIA, Robert Faulkner Award for Operation Black Diamonds, 2011
       IOMGIA, Wade Garner Memorial Award, 2011
       IALEIA, Analytical Award, 2009

Specialized Experience Analyzing and Monitoring OMGs

January 2006 - Present
I have been involved with numerous long-term State and Federal OMG investigations.
During an investigation, I am responsible for, but not limited to, creating charts,
timelines, de-briefings, overt surveillance, rosters and courtroom preparation/expert
analysis. More importantly, on a day-to-day basis, I am responsible for making sure each
individual in the investigation is up to speed with pertinent, but precise, intelligence. I
am often a conduit on separate investigations, which may share common factors are kept
apprised on parallel cases.

Along with investigative and intelligence support, I have traveled the globe working
and/or monitoring OMG events, parties and runs. Since 2008, I have worked the annual
HAMC U.S.A. Run, collecting intelligence and information from confidential informants,
arrest reports and photographs taken during the event. Since 2006, I have worked Myrtle
Beach Bike Week; Virginia Beach Bike Week; and numerous events sponsored by, but
not limited to, the HAMC, Pagan’s, Mongols, Sons of Silence, Warlocks, Gypsy Jokers,
Outlaws, Bandidos, Iron Horsemen, Wheels of Soul and their respective support clubs.
At the request of EUROPOL, I worked several HAMC runs and/or events in Prague,
Czech Republic, as well as Brighton, England.

January 2008 - Present
At the request of the South Dakota Division of Criminal Investigation, I attend the annual
Sturgis Motorcycle Rally in Sturgis, South Dakota. I am assigned to the OMG (1%)
Task Force, which monitors and tracks all OMGs and their supports clubs, during the
rally. I am responsible for identifying all OMG members, prospects and hangarounds, as
well as operating cameras in the 24-hour command post. While assigned to the command
post, I am a conduit between the OMG Task Force and high-ranking State and local law

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                       Washington, D.C. 20226
enforcement entities during traffic stops, arrests and violent encounters. On multiple
occasions, I have provided up-to-the minute intelligence during violent clashes between
the HAMC and their adversaries, non-conforming motorcycle clubs and civilians.

January 2008 - Present
During the annual HAMC U.S.A. Run, I am the lead intelligence asset to the primary
state and local law enforcement agencies monitoring the run. In the months leading up to
the run, I provide valuable intelligence on run location, as well as arrests and violence
endured during previous HAMC events. While assigned to the command post, I am a
conduit between the intelligence and enforcement assets with Federal, State and local law
enforcement agencies. On multiple occasions, I have provided up-to-the minute
intelligence during violent clashes between the HAMC and their adversaries, non-
conforming motorcycle clubs and civilians. I am also responsible for conducting training
for all intelligence and enforcement assets working the 5-day run.

January 2006 - Present
On behalf of ATF, FBI and several State and local law enforcement agencies, I have
participated in numerous OMG arrest operations. During the operations, I have analyzed
thousands of pieces of intelligence as it pertains to the investigation, particular OMG
membership, hierarchy, structure, day-to-day operations, church minutes, officer’s
minutes and/or the OMG. Many of the investigations pertain to, but not limited to,
narcotics and weapons trafficking, assaults, extortion, vehicular assault, insurance fraud,
homicide, attempted murder, VICAR and RICO.

January 2008 - Present
I have presented to numerous Federal, State, and local law enforcement agencies on
OMG topics, to include an overview of OMGs in the United States; how OMG expansion
leads to violence; OMG patches, tags and rockers; OMGs and the Southwest border;
OMG migration; OMGs and the military; predictive analytics; street gang transition to
OMG; the Hells Angels Corporation; and being an analyst during a long-term OMG
infiltration or investigation. I have also traveled the globe educating law enforcement
departments, as well as United States Federal agencies, on significant trends and patterns
in the OMG community, to include OMGs and the military, OMGs among law
enforcement and government agencies, and firefighters/emergency medical technicians
(EMTs) within OMGs. During the presentations, I deliver a complete and thorough
global OMG overview, to include recent, pertinent and relative trends and patterns. I
routinely discuss up-to-date violence and its significance to the traditional dominant
White and African-American/multiracial OMG communities. More importantly, I
signify the correlation between active duty, reservist and National Guard soldiers, plus

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                       Washington, D.C. 20226
State and Federal government employees and contractors, to specific OMGs.

I have also briefed high-ranking elected officials from the United States, England,
Denmark, Norway, Netherlands, Germany, Thailand, Vietnam, Japan, Canada, Australia
and EUROPOL on OMGs and the aforementioned topics.

January 2006- Present
I have been responsible for writing or providing expert analysis on ATF OMG
Intelligence reports, such as: OMGs and the Military; Annual Trends and Patterns, As It
Pertains to OMGs; Migration of Street Gangs to OMGs; OMGs and the Southwest
Border; OMGs within Fire & Rescue; Hells Angels Corporation; Hells Angels Overview
for Europol; Bandidos Overview for Europol; Hells Angels Overview for the United
States Attorney’s Office; and numerous OMG after-action reports and assessments
pertaining to Migration Leads to Violence.

January 2006- Present
On a daily basis, I communicate with law enforcement assets from across the globe,
concerning OMGs, OMG expansion, OMG violence and ongoing investigations
pertaining to OMGs. I have also had the distinct opportunity to maintain constant
communication with law enforcement assets who worked in an undercover capacity as
members and/or personally conducted investigations on the following OMGs, to include
debriefings of OMG members, prospects, associates and spouses: Hells Angels, Vagos,
Outlaws, Mongols, Sons of Silence, Bandidos, Hell’s Lovers, Iron Horsemen, Pagan’s,
Sin City Deciples, Wheels of Soul, Thunderguards, Malos Hechos, Chosen Few, and
numerous support and friend clubs

I have also interviewed and/or actively worked ongoing investigations involving
numerous sources of information who were members, former members, prospects or
close associates of the aforementioned OMGs or support clubs. The sources of
information provided intelligence regarding the structure and organization’s hierarchy,
day-to-day operations of the criminal enterprise, culture/protocols, crimes committed by
members and both internal and adversarial acts of ongoing violence. I also validated
intelligence that has been obtained by other investigative sources and resources.

National and International Conferences on OMGs
In my capacity as an IOS, I have also attended a number of national and international
conferences, symposiums and expert seminars on the subject of OMGs as an attendee.
Topics include, trends and patterns, specific information or intelligence regarding OMGs,

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involvement in criminal activity, the meaning of old and new patches/tags and tattoos,
updates on gang membership and, in the case of international conferences, overviews of
OMG from investigators and intelligence assets from different countries. On multiple
occasions, I have debriefed former members of an OMG on topics, such as gang
structure, gang activity, internal and external business, adversaries, violence, mental
capacity, etc. These conferences provide an opportunity to discuss OMGs with other
investigators, analysts and law enforcement assets from across the globe

May 2014 - Present
Since 2014, I have been a member of the International Outlaw Motorcycle Gang
Investigators Association (IOMGIA) and currently hold the position of co-training
coordinator on the board of directors. IOMGIA is a nonprofit organization started in
1974 to provide professional training and information sharing concerning outlaw
motorcycle gangs (OMGs) in the United States and abroad. Its membership consists of
Federal, State and local law enforcement entities from across the globe involved in
investigating, analyzing, monitoring and prosecuting OMGs and their motorcycle club
affiliates. An IOMGIA stated goal is “to improve the investigative skills and educational
organization.” As both a member and serving on the board of IOMGIA, I have
established an extensive network of colleagues involved in investigating, tracking,
monitoring and prosecuting OMGs throughout the world. On a weekly basis, I
correspond with law enforcement entities in North America, Australia, Asia, Europe and
South America, referencing a plethora of OMG topics, such as violence, expansion,
ongoing investigations and prosecution. During the annual conference, I often conduct a
30-minute United States overview concerning trends and patterns, OMG migration leads
to violence and OMGs in the military.

Ongoing and Past Presentations Regarding OMGs

I have lectured at numerous gang conferences, expert symposiums in Canada and
EUROPOL, for distinguished guests at ATF HQ, State and government agencies, foreign
embassies and a litany of gang conferences across the globe. I have delivered lectures in
front of approximately 750 sworn and non-sworn law enforcement personnel, as well as
distinguished and/or elected members of a foreign country looking for a United States
overview or an in-depth and analytical overview of a particular OMG or motorcycle club.
Below is a listing of all the scheduled lectures, presentations and classes I have
instructed:

2008
    ATF HQ, Washington, D.C., ATF OMG Investigations, June 2008

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                         Washington, D.C. 20226

2009
       International Association of Law Enforcement Intelligence Analysts (IALEIA)
        Conference, Las Vegas, NV, OMG and Military, April 2009
       ATF Special Operations Division (SOD), Atlantic City, NJ, Pagan’s Overview,
        April 2009
       IOMGIA, Nashua, NH, OMG and Military, September 2009

2010
       Department of Defense (DOD) OIG, ATF HQ, OMG and Military, January 2010
       NGIC, Arlington, VA, OMG Overview, January 2010
       ATF HQ, Washington, D.C., Pagan’s Overview, February 2010
       Massachusetts State Police, Westfield, MA, OMG and Military, June 2010
       MAGLOCLEN Conference, Baltimore, MD, OMG and Military, July 2010
       U.S. Attorney’s Office, Washington, D.C., HAMC Overview, August 2010
       ATF HQ, Washington, D.C., Pagan’s Overview and Investigative Support,
        August 2010

2011
    Illinois National Guard, Chicago, IL, OMG and Military, January 2011
    Defense Manpower Data Center (DMDC) Command Staff, Monterey, CA, OMG
     and Military, March 2011
    Special Forces and Delta Force Command Staffs, Fayetteville, NC, OMG and
     Military, March 2011
    Air Force Policy, Pentagon/Arlington, VA, OMG and Military, April 2011
    U.S. Navy SEAL Teams, Dam Neck/Virginia Beach, VA, OMG and Military and
     HAMC Overview/South Run, April 2011
    ATF HQ, Washington, D.C., OMG Overview, April 2011
    DEA SOD, Leesburg, VA, HAMC Overview, June 2011
    ATF Newark, Patterson, NJ, OMG Trends and Patterns, Pagan’s Overview,
     August 2011
    IOMGIA, Nashua, NH, OMG and Military, September 2011
    U.S. Army, Ft, Eustis, VA, OMG and Military, October 2011

2012
       United States Customs and Border Protection (CBP) HQ Command Staff, CBP
        HQ/Washington, D.C., OMG and U.S. Border, February 2012
       Canadian Outlaw Motorcycle Gang Investigators Conference (COMGIC),
        Ottawa, Ontario, Canada, U.S. OMG Trends and Patterns, March 2012

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       DOJ, Washington, D.C., OMG Trends and Patterns and HAMC Overview, March
        2012
       Virginia Gang Investigators Association (VGIA), Fredericksburg, VA, OMG
        Overview and OMG and Military, May 2012
       Northwest Gang Investigators Association (NWGIA), Seattle, WA, OMG Trends
        and Patterns, May 2012
       DEA SOD, Chantilly, VA, HAMC Overview, July 2012
       IOMGIA, St. Louis, MO, Intelligence for an OMG Investigation, September 2012
       New York Chiefs of Police Conference, Albany, NY, OMG Overview, October
        2012
       Peach Bottom Nuclear Plant, Annapolis, MD, OMG and Military, October 2012
       VGIA, Virginia Beach, VA, OMG Trends and Patterns, October 2012
       Project Safe Neighborhood (PSN) Conference, Milwaukee, WI, October 2012
       Senior Enlisted Meeting, Norfolk, VA, OMG and Military, December 2012

2013
       VGIA, Fairfax, VA, OMG Migration Leads to Violence, February 2013
       Naval Criminal Investigative Service (NCIS) and U.S. Army Criminal
        Investigation Command (CID), Quantico, VA, OMG Migration Leads to Violence
        and Trends and Patterns, March 2013
       IOMGIA, St. Paul, MN, OMG Migration Leads to Violence, June 2013
       CBP Command Staff, Washington, D.C., OMG Migration Leads to Violence and
        Trends and Patterns, July 2013
       U.S. Army CID Command Staff, Quantico, OMG and Military, July 2013
       ATF HQ, Washington, D.C., Norwegian Parliamentary member, OMG Migration
        Leads to Violence and Trends and Patterns, July 2013
       IOMGIA, St. Paul, MN, United States OMG Overview, September 2013
       Department of Homeland Security (DHS) Fusion Center, Arlington, VA,
        Intelligence for and OMG Investigation, September 2013
       Combined Law Enforcement Intelligence Group (CLEG), Ocean City, MD, OMG
        Migration Leads to Violence and Trends and Patterns, October 2013
       VGIA, Virginia Beach, VA, OMG Migration Leads to Violence and Trends and
        Patterns, October 2013
       ATF Dallas, ATF Special Operations Undercover Branch and U.S. Army Special
        Operations, Intelligence for an OMG Investigation, December 2013

2014
    CBP Command Staff, Washington, D.C., OMG and Southwest Border, February
     2014

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               ATF Headquarters, 99 New York Ave, NE,
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       U.S. National Guard, Arlington, VA, OMG and Military, February 2014
       VGIA, Fairfax, VA, OMG Migration Leads to Violence and Trends and Patterns,
        March 2014
       Biker Enforcement Unit, Ontario, Canada, HAMC Experts Meeting, HAMC
        Corporation, March 2014
       Virginia State Police Gang Conference, Roanoke, VA, OMG Migration Leads to
        Violence and Trends and Patterns, March 2014
       Biker Investigations Association of Northern California (BIANCA), Lake Tahoe,
        NV, OMG Migration Leads to Violence and Trends and Patterns, June 2014
       Wildwood Pre-Run, Wildwood, NJ, OMG Migration Leads to Violence and
        Trends and Patterns, August 2014
       Danish Dignitaries, FBI Washington, D.C., United States OMG Overview,
        August 2014
       Milwaukee Gang Conference, Milwaukee, WI, OMG Migration Leads to
        Violence and Trends and Patterns, September 2014
       IOMGIA, Denver, CO, OMGs and Southwest Border, September 2014
       OMG Experts Meeting, Europol/The Hague, Netherlands, United States OMG
        Overview, October 2014
       VGIA, Virginia Beach, VA, OMG Migration Leads to Violence and Trends and
        Patterns, October 2014
       DOD, Arlington, VA, OMG and Military, November 2014
       Department of Energy (DOE), Washington, D.C., OMG and
        Transportation/Long-Haul Drivers, November 2014
       ATF Command Staff, ATF HQ, Washington, D.C., OMGs and Southwest Border,
        November 2014
       Danish Dignitaries, ATF HQ, Washington, D.C., OMG Migration Leads to
        Violence and Trends and Patterns, December 2014

2015
    South Carolina Gang Investigators Association (SCGIA), Myrtle Beach, SC,
     OMG Migration Leads to Violence and Trends and Patterns, February 2015
    U.S. National Guard, Arlington, VA, OMG and Military, February 2015
    Victoria Police Department/Australian Dignitaries, Melbourne, Australia, OMG
     Migration Leads to Violence and Trends and Patterns, March 2015
    New South Wales Police Force, Sydney, Australia, OMG Migration Leads to
     Violence and Trends and Patterns, March 2015
    Queensland Police Service, Brisbane, Australia, OMG Migration Leads to
     Violence and Trends and Patterns, March 2015
    Fairfax County Police Academy, Fairfax, VA, OMG Migration Leads to Violence

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        and Trends and Patterns, April 2015
       Virginia State Police, Roanoke, VA, OMG Migration Leads to Violence and
        Trends and Patterns, April 2015
       Outlaw Motorcycle Criminal Gangs (OMCG) Experts Meeting, Bangkok,
        Thailand, Foundations of Starting an HAMC Charter, May 2015
       East Coast Gang Investigators Association (ECGIA), State College, PA, OMG
        Migration Leads to Violence and Trends and Patterns, May 2015
       NCIS Command Staff, ATF HQ Washington, D.C., OMG and Military, June
        2015
       Belgium Attaché’, ATF HQ Washington, D.C., July 2015
       ATF IRS Training Academy, Washington, D.C., OMG Migration Leads to
        Violence and Trends and Patterns, July 2015
       NCGIA, Pinehurst, NC, OMG Migration Leads to Violence and Trends and
        Patterns, September 2015
       High Intensity Drug Trafficking Area (HIDTA), Washington, D.C., OMG
        Migration Leads to Violence and Trends and Patterns, October 2015
       OMG Experts Meeting, EUROPOL/The Hague, United States OMG Overview,
        November 2015
       Netherlands Embassy, Washington, D.C., OMG Migration Leads to Violence and
        Trends and Patterns, December 2015

2016
    ATF Director, OMG Migration Leads to Violence and Trends and Patterns,
     March 2016
    ATF Wheeling, Morgantown, WV, OMG Migration Leads to Violence and
     Trends and Patterns, April 2016
    HIDTA/Department of Transportation (DOT), San Antonio, TX, OMG Traffic
     Stops and Trends and Patterns, April 2016
    ATF Intelligence Research Specialist (IRS) Academy, Washington, D.C., OMG
     Migration Leads to Violence and Trends and Patterns, and OMG Intelligence for
     an Investigation, April 2016
    U.S. National Guard, Arlington, VA, OMG and Military, April 2016
    IOMGIA, Kansas City, MO, OMG Migration Leads to Violence and Trends and
     Patterns, May 2016
    Netherlands Law Enforcement Interns, ATF HQ, Washington, D.C., OMG
     Migration Leads to Violence and Trends and Patterns, May 2016
    COMGIC, Montreal, Quebec, Canada, OMG Migration Leads to Violence and
     Trends and Patterns, June 2016
    California Gang Investigators Association (CGIA), Anaheim, CA, OMG

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        Migration Leads to Violence and Trends and Patterns, August 2016
       ATF IRS Academy, Washington, D.C., OMG Migration Leads to Violence and
        Trends and Patterns, August 2016
       Texas Governors Association, San Antonio, TX, OMG Migration Leads to
        Violence and Trends and Patterns, August 2016
       IOMGIA, Kansas City, MO, OMGs and First Responders, September 2016
       Vietnam OMCG Experts Meeting, Hanoi, Vietnam (SKYPE), OMG Expansion
        into Asia, September 2016
       Missouri Gang Investors Association (MGIA), Springfield, MO, OMG Migration
        Leads to Violence and Trends and Patterns, September 2016
       VGIA, Virginia Beach, VA, Former HAMC Source and Spouse, October 2016
       OMG Experts Meeting, EUROPOL/The Hague, United States OMG Overview,
        November 2016

2017
       Pentagon Security Forces, Arlington, VA, Phantoms OMG and Firemen, January
        2017
       ATF IRS Academy, Washington, D.C., OMG Migration Leads to Violence and
        Trends and Patterns, February 2017
       ECGIA, Providence, RI, Mindset of a Former Outlaws President, April 2017
       ECGIA, State College, PA, OMG Migration Leads to Violence and Trends and
        Patterns, May 2017
       Midwest Gang Investigators Association, Madison Dolls, WI, OMG Migration
        Leads to Violence and Trends and Patterns, May 2017
       Oklahoma Gang Investigators Association (OKGIA), Tulsa, OK, OMG Migration
        Leads to Violence and Trends and Patterns, June 2017
       HAMC U.S.A. Run, Lake of the Ozarks, MO, OMG Migration Leads to Violence
        and Trends and Patterns and HAMC Identification, June 2017
       ATF IRS Academy, Washington, D.C., OMG Migration Leads to Violence and
        Trends and Patterns, July 2017
       IOMGIA, Scottsdale, AZ, OMG Patch/Tag Identification and Definition,
        September 2017
       ECGIA, Rehoboth Beach, DE, OMG Migration Leads to Violence and Trends
        and Patterns, September 2017
       Mississippi Gang Investigators Association (MSGIA), Biloxi, MS, OMG
        Migration Leads to Violence and Trends and Patterns, November 2017
       Dutch Dignitaries, ATF HQ, Washington, DC, OMG Migration Leads to
        Violence and Trends and Patterns and HAMC Colors Ban, December 2017


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2018
       Mid-Atlantic Regional Gang Investigators Association (MARGIN), Ocean City,
        MD, OMG Migration Leads to Violence and Trends and Patterns, February 2018
       Calgary Police Service, Calgary, Alberta, Canada, OMG Migration Leads to
        Violence and Trends and Patterns, May 2018
       Transnational Organized Crime (TOC)-DHS, Cheyenne, WI, OMG Firearms
        Trafficking Patterns Across the Globe, June 2018
       German Dignitaries, ATF HQ, Washington, D.C., OMG Migration Leads to
        Violence and Trends and Patterns, June 2018
       CGIA, Anaheim, CA, OMG Migration Leads to Violence and Trends and
        Patterns, August 2018
       Wisconsin Fusion Center, Milwaukee, WI, OMG Migration Leads to Violence
        and Trends and Patterns, August 2018
       ATF IRS Academy, Washington, D.C., OMG Migration Leads to Violence and
        Trends and Patterns, August 2018
       Wildwood Pre-Run, Wildwood, NJ, OMG Migration Leads to Violence and
        Trends and Patterns, August 2018
       IOMGIA, Myrtle Beach, SC, U.S. Overview and Street Gang to OMG, September
        2018
       BAGIA, Foster City, CA, OMG Migration Leads to Violence and Trends and
        Patterns, September 2018
       OCDETF Fusion Center, Merrifield, VA, OMG Migration Leads to Violence and
        Trends and Patterns, October 2018

2019
       OCDETF Fusion Center, Merrifield, VA, OMG 101, January 2019
       MARGIN, Anne Arundel, MD, OMG Migration Leads to Violence and Trends
        and Patterns, March 2019
       NCIS, Quantico, VA, OMG Migration Leads to Violence and Trends and
        Patterns, April 2019
       OCDETF Fusion Center, Merrifield, VA, OMG Trends and Patterns and Global
        Perspective, April 2019
       ECGIA, State College, PA, OMG Migration Leads to Violence and Trends and
        Patterns, May 2019
       ATF New York Field Division, Bronx, NY, OMG Migration Leads to Violence
        and Trends and Patterns, May 2019
       NGIC, FBI Indianapolis, IN, OMG Migration Leads to Violence and Trends and
        Patterns, July 2019
       ATF Firearms Trafficking Group, Vienna, VA, OMG Migration Leads to

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      Violence, Trends and Patterns and Firearms and Narcotics Trafficking Patterns
      within the OMG Underworld, July 2019
     HAMC U.S.A. Run, Clemson, SC, OMG Migration Leads to Violence, Trends
      and Patterns and HAMC Identification, July 2019
     NCGIA, Winston-Salem, NC, OMG Migration Leads to Violence, Trends and
      Patterns and NC Overview, August 2019
     NCIS, Quantico, VA, OMG Migration Leads to Violence, Trends and Patterns
      and OMG and Military, August 2019
     ATF Nashville, OMG Migration Leads to Violence, Trends and Patterns,
      Predictive Analystics and OMG and Military, September 2019
     IOMGIA, U.S. Overview and Trends and Patterns, September 2019




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